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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                                 V.                                      (For Offenses Committed On or After November I, 1987)
                  OVSEP SARAFYAN (11)
                                                                            Case Number:         12CR4352-JLS

                                                                         DANIEL V. BEHESNlLIAN
                                                                         Defendant's Attorney
REGISTRATION :'110.

o
IZI pleaded guilty to count(s)
                                 63849112


                                        One of the Indictment
                                                                                                  I: FiLED
                                                                                                  I
                                       ------------------------------~--~~*ffir+4r~~~------

    was found guilty on count(s)
    after a Dleaofnot guilty.                                                             0, , - - , , ; , ' , ; 3-f\iCT OF C;".

Accordingly, the defendant is adj udged gui Ity of such count( s), which involve the followin~~                     f·······           j


                                                                                                                             Count
Title & Section                       Nature of Offense                                                                     Number(s)
18 USC 371                            Conspiracy                                                                                   I




     The defendant is sentenced as provided in pages 2 through                     5            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
     The defendant has been found not guilty on count(s)

~    Count(s)     (remaining counts)                               is          dismissed on the motion ofthe United States.

~     Assessment: $100.00 imposed



~     No fine                  0 Forfeiture pursuant to order filed                                                   , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
change of name, residence, or mai ling address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                         June 6. 2014
                                                                         Date of Imposition of Sentence



                                                                           ON. JANIS L. SA             ARTINO
                                                                         UNITED STATES DISTRICT JUDGE




                                                                                                                             12CR4352-JLS
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AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:                OVSEP SARAFY AN (I I)                                                  Judgment - Page 2 of 5
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                                                IMPRISONMENT
The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
One (1) Month




D      Sentence imposed pursuant to Title 8 USC Section 1326(b).
       The court makes the following recommendations to the Bureau of Prisons:




D      The defendant is remanded to the custody of the United States Marshal.

D      The defendant shall surrender to the Un ited States Marshal for this district:
       D
                  ----------------- A.M.
             at                                              on
       D     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
       Prisons:
       [8j   on or before August 15,2014 before 9:00 AM
       D     as notified by the United States Marshal.
       D     as notified by the Probation or Pretrial Services Office.

                                                      RETURN

I have executed this judgment as follows:

       Defendant delivered on   __________________________ to _______________________________

at                                         with a certified copy of this judgment.
     -----------------------­
                                                                  UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL



                                                                                                        12CR4352-JLS
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    DEFENDANT:                   OVSEP SARAFY AN (11)                                                                         Judgment - Page 3 of 5
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                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Tbree (3) Years


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody ofthe Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or afier September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o         substance abuse. (Check. ifapplicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
          Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U .S.c. § 1690 I, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
                                                             a
          resides, works, is a student, or was convicted of qualifY ing offense. (Check ifapplicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check ifapplicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
     of Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
     with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     I)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2}  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4}  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation. unless excused by the probation officer for schooling, training, or other acceptable
         reasons:
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute. or administer any controlled substance or
         any paraphernalia related to any controlled substances. except as prescribed by a physician:
     8} the defendant shall not frequent places where controlled substances are illegally sold, uscd, distributed. or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted ofa felony,
         unless granted permission to do so by the probation otlicer:
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     II) the defendant shall noti f.Y the probation otlicer within seventy-two hours of being arrested or questioned by a law enforcement officer:
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court; and
     13) as directed by the probation onker, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall permit the probation olllcer to make such notifications and to confirm the defcndant's compliance
         with such notification requirement.



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DEFENDANT:            OVSEP SARAFYAN (II)                                                    Judgment - Page 4 of 5
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                                SPECIAL CONDITIONS OF SUPERVISION

Participate in a counseling or preventative program for gambling addiction.

The Court orders that the defendant participate in the Home Confinement Program, which includes electronic
monitoring and may include Global Positioning Satellite (GPS), or other location verification methods, for a
term not to exceed seven (7) months. The defendant is responsible for the costs of the program not to exceed
$12.00 per day.

Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer
at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of
a violation of a condition of release; failure to submit to a search may be grounds for revocation; the defendant
shall warn any other residents that the premises may be subject to searches pursuant to this condition.

Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of
credit without approval of the probation officer.

Provide complete disclosure of personal and business financial records to the probation officer as requested.

Notify the Collections Unit U.S. Attorney's Office, of any interest in property obtained, directly or indirectly,
including any interest obtained under any other name, entity, including a trust, partnership, or corporation, until
restitution is paid in fulL




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DEFENDANT:             OVSEP SARAFYAN (11)                                                      Judgment - Page 5 of 5
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                                           RESTITUTION

The defendant shall pay restitution in the amount of $85,924.00                  to Citigroup, Inc., through the
Clerk, U.S. District Court. Payment of the restitution shall be forthwith. During any period of incarceration the
defendant shall pay restitution through the Inmate Financial Responsibility Program at the rate of 50% of the
defendant's income, or $25.00 per quarter, whichever is greater. The defendant shall pay restitution during his
supervised release at the rate of $250.00 per month. These payment schedules do not foreclose the United State
from exercising all legal actions, remedies, and process available to it to collect the restitution judgment.




The Court has determined that the defendant     does not     have the ability to pay interest. It is ordered that:
    The interest requirement is waived




                                                                                                       12CR4352-JLS
